            IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
                     1:23-cv-00046-MR-WCM

ALWINA FYKES, individually,     )
on her own behalf and on behalf )
of all others similarly situated,
                                )
                                )
           Plaintiff,           )                      ORDER
                                )
v.                              )
                                )
HALLELUJAH ACRES, INC.,         )
a North Carolina corporation,   )
and DOES 1 to 10,               )
                                )
           Defendants.          )
_______________________________ )

      This matter is before the Court on a “Notice of Withdrawal of Motion for

Leave and to Continue Discovery Deadlines” (the “Notice,” Doc. 26).

      In the Notice, Plaintiff states that she intends to dismiss a separate

proceeding she has brought in the United States District Court for the Central

District of California, In re SUBPOENA TO 317 LABS, INC., 2:24-mc-00079-

FLA-MAR (the “California Action”).

      Additionally, Plaintiff states that she has stipulated to the dismissal of

the instant case against all Doe defendants (Doc. 25), has withdrawn a

previously filed “Motion for Leave to Communicate with Party and Continue

Discovery Deadlines” (the “Motion,” Doc. 24), and will be filing a motion for

default judgment within the next 14 days.

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      Consequently, Plaintiff requests that a hearing on the Motion and a

status conference that are scheduled for December 20, 2024 be removed from

the calendar.

      As the Motion has been withdrawn, no hearing is necessary.

      However, the undersigned is not persuaded that the status conference

should be canceled at this time. Plaintiff may, though, renew her request to

cancel the conference in the event the California Action is dismissed and

Plaintiff has taken such action as is necessary to further prosecute the instant

case and bring it to a close.

      Therefore, Plaintiff’s request, as set forth in the Notice (Doc. 26), is

GRANTED IN PART and DENIED IN PART. Specifically, the hearing on

Plaintiff’s now-withdrawn Motion is CANCELED and Plaintiff’s request to

cancel the December 20, 2024 status conference is DENIED WITHOUT

PREJUDICE.

       It is so ordered.

                                 Signed: December 6, 2024




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